 Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 1 of 23


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION
DHI Group, Inc. f/k/a Dice Holdings Inc. and
RIGZONE.com, Inc.,
                     Plaintiffs,

        vs.

David W. Kent, Jr., Single Integrated
Operations Portal, Inc. d/b/a Oilpro, et al.,
                  Defendants.
                                                      Civil Action Number: 16-cv-01670
Single Integrated Operations Portal, Inc. d/b/a
Oilpro and OILPRO.com,
                      Counter-Plaintiff,

        vs.

DHI Group, Inc. f/k/a Dice Holdings Inc. and
RIGZONE.com, Inc.,
                       Counter-Defendants.

               DEFENDANTS’ RESPONSE TO PLAINTIFFS’
        AFFIRMATIVE MOTION FOR PARTIAL SUMMARY JUDGMENT

                                                  FOLEY GARDERE
                                                  FOLEY & LARDNER LLP

                                                  James G. Munisteri
                                                  Texas Bar No. 14667380
                                                  Marla T. Poirot
                                                  Texas Bar No. 00794736
                                                  1000 Louisiana, Suite 2000
                                                  Houston, Texas 77002-2099
                                                  Telephone: (713) 276-5500
                                                  Facsimile: (713) 276-5555
                                                  jmunisteri@foley.com
                                                  mpoirot@foley.com

                                                  Sara Ann Brown
                                                  Texas Bar No. 24075773
                                                  2021 McKinney, Suite 1600
                                                  Dallas, Texas 75201-3340
                                                  Telephone: (214) 999-3000
                                                  Facsimile: (214) 999-4667
                                                  sabrown@foley.com

                                                  ATTORNEYS FOR DEFENDANTS
      Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 2 of 23


                                                    TABLE OF CONTENTS

Table of Authorities ........................................................................................................................ 3

Summary of Argument ................................................................................................................... 4

Background Facts............................................................................................................................ 5

Arguments and Authorities ............................................................................................................. 8

           A.         The Rigzone resume database is not a “trade secret” protected by TUTSA. ......... 8

                      1.         TUTSA, not the SPA, determines whether the resumes are
                                 Rigzone’s trade secret. ................................................................................ 9

                      2.         The SPA does not support Plaintiffs’ argument that the Rigzone
                                 resume database is a trade secret. ............................................................... 9

                                 a.         The SPA does not include the Rigzone resume database in
                                            its definition of “trade secrets.” .................................................... 10

                                 b.         The SPA does not establish that Plaintiffs took reasonable
                                            efforts to keep the Rigzone resume database secret...................... 11

                      3.         The Rigzone resume database is not a “compilation” protected under
                                 TUTSA. ..................................................................................................... 12

                                 a.         Kent did not access or acquire the resume database and
                                            Plaintiffs do not argue that the individual resumes are trade
                                            secrets. ........................................................................................... 12

                                 b.         The resume database is not a compilation protected under
                                            TUTSA. ......................................................................................... 13

                                 c.         Rigzone took no measures to maintain the secrecy of the
                                            resume database. ........................................................................... 17

           B.         The vice-principal theory does not apply.............................................................. 20

Conclusion .................................................................................................................................... 21




                                                                        2
      Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 3 of 23


                                            TABLE OF AUTHORITIES

Cases                                                                                           Page(s)
ADT LLC v. Capital Connect, Inc.,
   3:15-CV-2252-G, 2017 WL 1426302 (N.D. Tex. Apr. 21, 2017) ...........................................22
Am. Paper & Packaging Products, Inc. v. Kirgan,
   183 Cal. App. 3d 1318 (Ct. App. 1986) .............................................................................14, 16
Baxter & Associates, L.L.C. v. D & D Elevators, Inc.,
   05-16-00330-CV, 2017 WL 604043 (Tex. App.—Dallas Feb. 15, 2017, no pet.) ..................20
Brigham Young Univ. v. Pfizer, Inc.,
   861 F. Supp. 2d 1320 (D. Utah 2012) ......................................................................................14
Calisi v. Unified Fin. Srvs, LLC,
   232 Ariz. 103, 302 P.3d 628 (Ct. App. 2013) ..........................................................................16
EMC Mortg. Corp. v. Jones,
  252 S.W.3d 857 (Tex. App.—Dallas 2008, no pet.)................................................................22
Guy Carpenter & Co., Inc. v. Provenzale,
   334 F.3d 459 (5th Cir. 2003) ...................................................................................................10
Jackson v. Hammer,
   274 Ill. App. 3d 59, 653 N.E.2d 809 (1995) ............................................................................18
Lamont v. Vaquillas Energy Lopeno Ltd., LLP,
   421 S.W.3d 198 (Tex. App.—San Antonio 2013, pet. denied) ...............................................21
McClain v. State,
  269 S.W.3d 191 (Tex. App.—Texarkana 2008, no pet.) .........................................................21
Mobil Oil Corp. v. Ellender,
  968 S.W.2d 917 (Tex. 1998)....................................................................................................22
Numed, Inc. v. McNutt,
  724 S.W.2d 432 (Tex. App.—Fort Worth 1987, no writ) .......................................................21
Ozburn-Hessey Logistics, LLC v. 721 Logistics, LLC,
   13 F. Supp. 3d 465 (E.D. Pa. 2014) .........................................................................................14
Smartcomm License Services LLC v. Palmieri,
   No. CA-CV 16-0265, 2018 WL 326510, at *6 (Ariz. Ct. App. Jan. 9, 2018) .........................21
Uhlig LLC v. Shirley,
   6:08-CV-01208-JMC, 2012 WL 2923242 (D.S.C. July 17, 2012) ....................................17, 19
United States v. Nosal,
   844 F.3d 1024 (9th Cir. 2016), cert denied, 138 S. Ct. 314, 199 L. Ed. 2d 207
   (2017) .................................................................................................................................14, 15
Vianet Group PLC v. Tap Acquisition, Inc.,
   No. 3:14-CV-3601-B, 2016 WL 4368302 (N.D. Tex. Aug. 16, 2016)....................................21
    Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 4 of 23




        Defendant David W. Kent, Jr. (“Kent”) and Single Integrated Operations Portal, Inc. d/b/a

Oilpro and Oilpro.com (“Oilpro” and, collectively with Kent, “Defendants”) respond to the

Affirmative Motion for Partial Summary Judgment filed by Plaintiffs DHI Group, Inc. f/k/a Dice

Holdings Inc. (“DHI”) and RIGZONE.com, Inc. (“Rigzone” and, collectively with DHI,

“Plaintiffs”) (DE 227).

                                SUMMARY OF ARGUMENT

        Before this lawsuit was filed, no one at DHI or Rigzone referred to the Rigzone resume

database as a trade secret or treated it like a trade secret. Instead, they gave that database to a third

party, without compensation or a non-disclosure agreement; allowed customers unlimited access

to and downloads of resumes; permitted both customers and employees access to a download-to-

excel feature that allowed individuals to download thousands of resumes at a time; gave an

employee a server with the complete copy of the resume database, without instructions to delete

the contents or requiring a non-disclosure agreement; allowed all employees to have unmonitored

access to the resume database; and required neither customers, vendors, nor employees to sign

non-disclosure agreements regarding the resume database.

        Faced with the realization that any one of these facts would condemn their trade secret

claim, Plaintiffs attempt to paper over their shortcomings by dusting off a Stock Purchase
Agreement and relying on its definition of “trade secret” buried deep in an agreement more than

one hundred pages long. But Plaintiffs ignore the critical point: no one considered the resume

database a trade secret, at the time that the parties executed the Stock Purchase Agreement. Nor

was the resume database treated as a trade secret at the time. It is the nature of the information and

the secrecy surrounding that information, that trigger trade secret protection. And even if the Stock

Purchase Agreement’s definition governed and the resume database fell within its scope, it could

only potentially bind David Kent—not Oilpro, which was formed more than a year after the

agreement was signed.




                                                   4
    Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 5 of 23




        As argued in Defendants’ motion for summary judgment, the evidence in this case negates

the existence of a trade secret as a matter of law. It is the Defendants that are entitled to summary

judgment on Plaintiffs’ TUTSA claim. But to defeat Plaintiffs’ motion for summary judgment, the

Defendants need only show that there is a material disputed fact regarding whether the resume

database is a trade secret. Defendants have plainly raised evidence that disputes (or outright

negates) the existence of a trade secret.

                                         BACKGROUND FACTS
        Rather than repeating the statement of facts Defendants have set out elsewhere, 1

Defendants will focus on the facts relevant to this motion: that is, whether the resume database is

a trade secret.

        Rigzone is a website primarily used by professionals in the oil and gas industry to search

for jobs. Rigzone provides news, a company directory, oil and gas events, an equipment

marketplace, and a job board. 2 As part of the Rigzone website, candidates searching for jobs upload

their resumes to Rigzone, who stores those resumes. 3 Rigzone then sells companies and recruiters

subscriptions that allow them to download resumes and post jobs. 4 Rigzone does not review the

resumes in the database; apply algorithms to the database to help recruiters or companies identify

qualified candidates; or otherwise edit the content created and uploaded by job seekers. 5 The

resume database was not stored on a separate server 6 and was not encrypted. 7




1
    See DE 231at 8; DE 323 at 9.
2
    DE 233, Ex. H [Declaration of David W. Kent, Jr.] ¶2.
3
    DE 233, Ex. H [Declaration of David W. Kent, Jr.] ¶2.
4
    Ex. T [Deposition of Michael Durney] at 54:25-55:07.
5
    Ex. Y [Deposition of Estevan Dufrin] at 121:18-122:01; 125:04-13; 126:17-23; 127:22-128:03.
6
    DE 233, Ex. J [Deposition of Chad Norville] at 155:01-06.
7
    DE 233, Ex. H [Declaration of David W. Kent, Jr.] ¶¶6-7; DE 233, Ex. J [Deposition of Chad Norville] at 198:17-
    20.




                                                        5
     Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 6 of 23




         No one at DHI or Rigzone ever referred to the resume database as a trade secret until after

this lawsuit was filed; indeed, DHI’s CEO, CFO, and the head of mergers and acquisitions, as well

as the President of Rigzone, all testified that they had never heard anyone refer to the resume

database as a trade secret. 8 They did not treat the resume database as a trade secret, either. The

only security that Rigzone applied to the resume database were the measures that it took to protect

the website, in general. But these measures to protect against unknown third-party access are

meaningless in the face of wide-spread disclosure and unmonitored access granted to Rigzone

employees, 9 customers, vendors, 10 and DHI affiliates.

         Rigzone never identified the resume database as a trade secret in a non-disclosure

agreement 11 and did not require employees, 12 customers, vendors, or DHI affiliates to sign such
an agreement before accessing the resume database. 13 Rigzone allowed some customers unlimited

access and unlimited downloads; 14 and for certain periods of time, allowed customers to download

thousands of resumes to an excel file, at one time. 15

         Employees were given no guidelines regarding the disclosure of the resume database, 16

were permitted to access the resume database on personal devices; 17 and were not even required



8
     Ex. O [Declaration of Bud Montang] ¶¶ 9 – 10; DE 233, Ex. J [Deposition of Chad Norville] at 52:23-25; DE
     233, Ex. E [Deposition of Michael Durney] at 227:14-227:21; see also DE 233, Ex. A [Deposition of Jeremy
     Antonini] at 103:24-104:03;
9
     DE 233, Ex. J [Deposition of Chad Norville] at 158:02-05.
10
     DE 233, Ex. J [Deposition of Chad Norville] at at 167:24-168:03.
11
     DE 233, Ex. J [Deposition of Chad Norville] at 171:07-12.
12
     DE 233, Ex. D [Deposition of Estevan Dufrin] 126:22-129:25.
13
     DE 233, Ex. N-6 [Rigzone’s January 13, 2016 Contract with Petronas]; DE 233, Ex. J [Deposition of Chad
     Norville] at 165:12-14; 166:25-167:05, 175:18-176:13.
14
     DE 233, Ex. C [Deposition of Bryan Robins] at 59:16-59:18.
15
     DE 233, Ex. C [Deposition of Bryan Robins] at 59:06-59:09; DE 233, Ex. A [Deposition of Jeremy Antonini] at
     141:03-15; DE 233, Ex. J [Deposition of Chad Norville] 212:06-15; 216:24-217:24.
16
     DE 233, Ex. J [Deposition of Chad Norville] at 156:01-19 .
17
     DE 233, Ex. J [Deposition of Chad Norville] at 205:06-10.




                                                        6
     Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 7 of 23




to return resume data or access credentials when they left their employment with Rigzone. 18 In

fact, Rigzone allowed one employee (Jeremy Antonini) to take the server containing the entire

Rigzone resume database without requiring him to delete the data or sign a non-disclosure

agreement. 19 And in another similar instance, Rigzone handed over a copy of the entire database

to another company affiliated with DHI, WorkDigital, Inc., without receiving compensation or

requiring that company to sign a non-disclosure agreement. 20

         Plaintiffs’ generosity in sharing the resume database is exacerbated by the fact that they

did not monitor access to the resume database; 21 did not mark the resumes as trade secrets or

confidential, 22 even though they did add confidentiality stamps to other information (such as
monthly business reports); 23 and there was nothing on the website, that notified a person viewing

or downloading resumes, that the Plaintiffs considered this information to be their trade secrets. 24

Given the already diverse universe permitted to access and download information from the resume

database, the failure to monitor the database or notify users that Rigzone considered the

information to be its trade secret essentially ensured that the database was not secret.

         And the supposed “secret backdoor”? Two publicly reachable webpages that allowed users

to download resumes without entering a password. 25 These were not a secret and were features of




18
     DE 233, Ex. J [Deposition of Chad Norville] at 186:04-08.
19
     DE 233, Ex. A [Deposition of Jeremy Antonini] at 144:10-148:06; 148:20-149:25.
20
     Ex. R-4 [April 13, 2015, Email from Megan Henderson]. Here, Rigzone provides a copy of the database to
     WorkDigital, which Plaintiffs have insisted in filings with this court, is a separate and distinct entity from Rigzone
     and DHI. See DE 228 at 17.
21
     DE 233, Ex. J [Deposition of Chad Norville] at 167:24-168:03.
22
     DE 233, Ex. J [Deposition of Chad Norville] at 138:20-23; 140:25-141:06.
23
     DE 233, Ex. N-7 [Rigzone September 2013 Monthly Business Review] at DHI_0001422.
24
     DE 233, Ex. J [Deposition of Chad Norville] at 138:04-23.
25
     DE 233, Ex. J [Deposition of Chad Norville] at 198:17-199:05; 248:07-10;




                                                            7
     Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 8 of 23




the website, not a bug. 26 Indeed, five Rigzone employees wrote and revised the software code

creating those webpages. David Kent was not one of these five individuals. 27 When Rigzone

learned of David Kent’s access, it did not immediately close these publically accessible pages. 28

                                ARGUMENTS AND AUTHORITIES

A.        The Rigzone resume database is not a “trade secret” protected by TUTSA.
          To establish a TUTSA claim, Plaintiffs must show that (1) they owned a trade secret,

(2) defendant misappropriated the trade secret, and (3) the misappropriation caused injury. See

TEX. CIV. PRAC. & REM. CODE ANN. §§ 134A.002(1),(3), (6) & 134A.004(a). Plaintiffs’ trade
secret claim cannot clear the first hurdle because it cannot show that the information at issue—the

resume database—is a trade secret. TUTSA requires information to meet the following definition,

to be subject to its protections:

          information, including a formula, pattern, compilation, program, device, method,
          technique, process, financial data, or list of actual or potential customers or
          suppliers, that: (A) derives independent economic value, actual or potential, from
          not being generally known to, and not being readily ascertainable by proper means
          by, other persons who can obtain economic value from its disclosure or use; and
          (B) is the subject of efforts that are reasonable under the circumstances to maintain
          its secrecy.

TEX. CIV. PRAC. & REM. CODE ANN. § 134A.002(6). Plaintiffs make no effort to establish the

elements under TUTSA, relying instead on the terms of the SPA. But the SPA does not supplant

Section 134A.002(6) and the evidence shows that resume database does not qualify as a trade

secret.




26
     DE 233, Ex. A [Deposition of Jeremy Antonini] at 118:14-118:20; DE 233, Ex. J-52 [Confluence Timeline] at
     DHI_0024616.
27
     DE 233, Ex. A [Deposition of Jeremy Antonini] 115:16-117:18. These individuals included David Wuensch,
     Antonini, Michael Hobley, John Hanson, and Norville. DE 233, Ex. B-14 [Mandiant Report], App. 000046-47.
28
     DE 233, Ex. J-52 [Confluence Timeline] at DHI_0024616.



                                                      8
    Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 9 of 23



        1.      TUTSA, not the SPA, determines whether the resumes are Rigzone’s trade secret.

        Plaintiffs rely solely on the SPA to establish that the resumes constitute a trade secret. At

best, the SPA is one piece of evidence to be considered in determining whether the resumes are a

trade secret. And this is supported by the cases cited by Plaintiffs in their motion.

        In Williams Cons. I, Ltd. v. Smith, the former-employee defendant had signed an agreement

that “explicitly acknowledge[d] that the customer lists [were] trade secrets and confidential” but

that alone was not dispositive of the issue. The Court returned to the Texas common law test for

determining “whether a customer list is a trade secret: (1) what steps, if any, an employer has taken

to maintain the confidentiality of a customer list; (2) whether a departing employee acknowledges
that the customer list is confidential; and (3) whether the content of the list is readily ascertainable.”

4:08-CV-766, 2009 WL 10698215, *12 – *13 (S.D. Tex. Oct. 19, 2009), report and

recommendation adopted, 4:08-CV-766, 2009 WL 10698262 (S.D. Tex. Nov. 19, 2009) (citing

Guy Carpenter & Co., Inc. v. Provenzale, 334 F.3d 459, 467 (5th Cir. 2003). The Court required

the plaintiff to establish each element. Id.; see also Guy Carpenter, 334 F.3d at 468 (“even though

[plaintiff] took steps to protect its customer list and [defendant] signed a contract stating the

customer list was confidential, we conclude the customer list was not a trade secret because it was

readily ascertainable”).

        2.      The SPA does not support Plaintiffs’ argument that the Rigzone resume database
                is a trade secret.

        Even if the SPA, standing alone, could establish that the resumes were protected as trade

secrets by TUTSA, it would not: the SPA’s definitions do not include the resume database.

Plaintiffs rely on the SPA in two respects, citing the “trade secret” definition and a representation

and warranty related to such “trade secrets.” Docket No. 227 at 17 – 18. Neither establish that the

resume database is a trade secret, subject to a misappropriation claim under TUTSA.




                                                    9
     Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 10 of 23



                  a.      The SPA does not include the Rigzone resume database in its definition of
                          “trade secrets.”
         The SPA contains the following definition of “trade secrets”:

         “Trade Secrets” shall mean any trade secrets or other proprietary and confidential
         information including unpatented inventions, invention disclosures, technical data,
         financial data, Personal Information, customer lists, business production, or
         marketing plans, know-how, formulae, methods (whether or not patentable),
         designs, processes, procedures, algorithms, analyses, proposals, source code, object
         code, and data collections. 29

Plaintiffs rely on the identification of “Personal Information” in the trade secret definition as the

hook that drags the resume database into this definition. However, “Personal Information” is
defined as follows:

         “Personal Information” all information or data associated with individual Persons,
         including customers and employees, that is collected by the Company in the course
         of its operations. 30

But Rigzone’s “customers” are its subscribers and advertisers. 31 Job seekers who upload their

resumes are not Rigzone’s customers. 32 Plaintiffs’ internal presentations regarding the potential

acquisition of Rigzone make this distinction clear, 33 and was also recognized in the Marshall &

Stevens valuation. 34

         Moreover, the Rigzone executive that led DHI’s acquisition of Rigzone and was involved

in the negotiations of the SPA has testified that he “did not intend or believe that the Rigzone

resume database was included within the SPA’s definition of ‘trade secret’” and that “[b]oth today


29
     DE 233, Ex. E-7 [Stock Purchase Agreement], App. 000177.
30
     DE 233, Ex. E-7 [Stock Purchase Agreement], App. 000175.
31
     Ex. O [Declaration of Bud Montang] ¶10.
32
     Ex. O [Declaration of Bud Montang] ¶10.
33
     Ex. R-3 [July 22, 2010 Presentation] at DHI_0007635 – 7636.
34
     DE 233, Ex. L-95.C [August 11, 2010 Summary Appraisal Report of the Acquired Assets of Rigzone.com, Inc.],
     App. 758 (noting that Rigzone’s customer relationships were “segmented into three buckets—Advertising, Career
     Center and Data Services” and valuing the “job seeker database” separately).




                                                       10
     Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 11 of 23




and at the time of the Rigzone acquisition, I understood ‘Personal Information’ to refer to employee

or customer information that would generally be considered the type of information protected from

disclosure. I did not (and do not) understand ‘Personal Information’ to include the Rigzone resume

database.” 35 And contrary to the testimony Plaintiffs plucked from its context, 36 Kent testified at

his deposition that he did not consider Rigzone’s database to be its proprietary information, when

he owned Rigzone, because “we shared it with customers and recruiters.” 37

                 b.       The SPA does not establish that Plaintiffs took reasonable efforts to keep
                          the Rigzone resume database secret.
         Plaintiffs also rely on the SPA to show that the Rigzone resume database was protected,

citing to Section 3.20(c) of the SPA:

         The Company has taken all necessary and otherwise reasonable steps to protect and
         preserve the confidentiality of all of its Trade Secrets and all use by, or disclosure
         to, any Person of such Trade Secrets has been pursuant to the terms of a valid,
         written confidentiality agreement with such Person that is legally enforceable by
         the Company. Neither the Company, its employees, nor any other agents or
         contractors in the course of working on the Company’s behalf has breached any
         contracts of non-disclosure or confidentiality. 38

But this representation says nothing about the protection of the resume database, because it was

not included in the definition of a “Trade Secret.” Even if the resume database were a “Trade

Secret” referenced in this rep and warranty (which it is not), this would only be evidence regarding

the measures up until August 2010 and would not evidence Plaintiffs’ treatment of the resume

database after the Rigzone acquisition. As discussed below, Plaintiffs did not take reasonable

measures to protect the resume database.




35
     Ex. O [Declaration of Bud Montang] ¶¶ 9 – 10.
36
     DE 227 at 11.
37
     Ex. U [Deposition of David Kent] 209:12 – 19.
38
     DE 233, Ex. E-7 [Stock Purchase Agreement], App. 000136.



                                                     11
     Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 12 of 23



         3.       The Rigzone resume database is not a “compilation” protected under TUTSA.

         Plaintiffs argue that because compilations can be trade secrets, that the resume database is

a trade secret, without addressing what makes a compilation a trade secret or showing that the

compilation is, in fact, what the Defendants took.

         TUTSA has two requirements, the information must: “(A) derive[] independent economic

value, actual or potential, from not being generally known to, and not being readily ascertainable

by proper means by, other persons who can obtain economic value from its disclosure or use; and

(B) [be] the subject of efforts that are reasonable under the circumstances to maintain its secrecy.”

Tex. Civ. Prac. Rem. Code Section 134A.002. Aside from conclusory statements and reference to
the SPA, Plaintiffs make no effort to establish either of these elements and fail to meet even their

initial burden under Rule 56. As set forth in Defendants’ motion for summary judgment, the

evidence establishes that the resume database is not—as a matter of law—a trade secret under

TUTSA. But at the very least, the evidence creates a material question of fact precluding summary

judgment in Plaintiffs’ favor on this issue.

                  a.      Kent did not access or acquire the resume database and Plaintiffs do not
                          argue that the individual resumes are trade secrets.
         Plaintiffs argue that the resume database constitutes a trade secret but this would only

matter if Kent had acquired the resume database. It is undisputed that he did not—he accessed only

individual resumes. 39 Plaintiffs seek to prove a trade secret that is not the information they allege

was misappropriated. TUTSA requires a trade secret be misappropriated, and Plaintiffs simply fail

to even argue that the individual resumes that Kent acquired—as opposed to the resume database

itself—were trade secrets. For this reason alone, the Court should deny Plaintiffs motion for

summary judgment.




39
     DE 233, Ex. N-3 [Expert Report of Trent Livingston] at 5, ¶13; DE 233, Ex. J [Deposition of Chad Norville] at
     248:11-13; DE 233, Ex. H [Declaration of David Kent] at App. 000510.




                                                       12
     Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 13 of 23



                  b.       The resume database is not a compilation protected under TUTSA.
         Job seekers—not Plaintiffs—create and upload resumes to Rigzone.com. 40 Rigzone only

provides a place (the Rigzone website) for members to do so. Thus, the proposed trade secret, here,

is a group of resumes authored by individuals outside of Rigzone and uploaded by those same

individuals. Further, Rigzone customers around the world are permitted to access these resumes

without a nondisclosure agreement. And within Rigzone, the resumes were never treated as trade

secrets or restricted with security measures. In short, this group of resumes is the antithesis of a

trade secret.

         Generally, courts considering compilations have noted two significant factors: (1)

uniqueness of the information to be considered a trade secret and (2) effort put into compiling the

trade secret. United States v. Nosal, 844 F.3d 1024, 1043 (9th Cir. 2016), cert denied, 138 S. Ct.

314, 199 L. Ed. 2d 207 (2017) (noting that the information at issue was the unique, “customized

product of a massive database”); Brigham Young Univ. v. Pfizer, Inc., 861 F. Supp. 2d 1320, 1323–

24 (D. Utah 2012) (“Simply pointing to a large amount of information and claiming it is secret

will not do. Rather, the plaintiff must explain how the combination of elements is sufficiently

different, or special, to merit protection.”); Ozburn-Hessey Logistics, LLC v. 721 Logistics, LLC,

13 F. Supp. 3d 465, 474 (E.D. Pa. 2014) (“The rationale for protecting compilations as trade secrets

is that the act of compiling entails the investment of time and resources; it is that investment the

law seeks to protect.”); Am. Paper & Packaging Products, Inc. v. Kirgan, 183 Cal. App. 3d 1318,

1326, (Ct. App. 1986) (noting that the shipping information for which the party alleging a trade

secret sought protection for was “readily ascertainable to other persons in the shipping business”

and that “all the competitors have secured the same information that appellant claims and, in all

likelihood, did so in the same manner as appellant”).

         Information compiled from public sources, without more, is not a trade secret. In United

States v. Nosal the Ninth Circuit analyzed whether source lists constituted a trade secret under the



40
     DE 233, Ex. J, [Deposition of Chad Norville] at 46:22-47:01.



                                                        13
     Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 14 of 23




Economic Espionage Act. 844 F.3d at 1043. Korn/Ferry’s core asset was an internal database of

information on over one million executives, including resumes, contact information, employment

history, and salaries. Id. at 1030. To fill a position, Korn/Ferry would compile a list of potential

candidates, which was derived by running queries in the database to generate a list of candidates.

Id. Old source lists were used to speed up the process in similar searches. Id. Nosal, the defendant,

downloaded source lists when working to launch a competitor. Id. at 1031. Nosal argued that the

source lists were “composed largely, if not entirely, of public information and therefore couldn’t

possibly be trade secrets.” Id. at 1042. The court found that the source lists, which were made up

of information from public, non-public, and quasi-public information, constituted trade secrets. Id.

at 1030, 1042. “Each source list was the result of a query run through a propriety algorithm that

generates a custom subset of possible candidates, culled from a database of over one million

executives.” Id. The source lists “were not unwashed, public-domain lists of all financial

executives in the United States, nor otherwise related to a search that could be readily completed

using public sources.” Id. Further, the creation of the Korn/Ferry database involved the input of

social scientists and was not a mere collection of resumes. The court found that the nature and

value of the trade secret “stemmed from the unique integration, compilation, cultivation, and

sorting of, and the aggressive protections applied to the [] database.” Id. at 1042.

         The purported trade secret at issue here is a collection of resumes. The Rigzone information

did not include salaries or other non-public information. Nor was the resume collection any type

of customized list as in Nosal, 41 the product of social scientists or intellectual property

development specialists. 42 While the Korn/Ferry source lists constituted carefully culled and

customized information, the information accessed by Defendants was a group of unprotected

resumes uploaded by individuals without any effort by Rigzone.




41
     See DE 233, Ex. J [Deposition of Chad Norville] at 248:11-13.
42
     DE 233, Ex. D [Deposition of Estevan Dufrin] at 126:17-126:23.



                                                       14
     Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 15 of 23




         In Kirgan a California appellate court considered whether lists of customers who needed

shipping supplies constituted a trade secret. 183 Cal. App. 3d 1318, 1326, 228 Cal. Rptr. 713, 717

(Ct. App. 1986). The court noted that “[w]hile the information sought to be protected here, that is

lists of customers who operate manufacturing concerns and who need shipping supplies to ship

their products to market, may not be generally known to the public, they certainly would be known

or readily ascertainable to other persons in the shipping business.” Id. The court further noted that

the compilation process, which consisted of driving through manufacturing areas and making lists

of companies to call, was “neither sophisticated nor difficult nor particularly time consuming.”

Id. Additionally, the court stated that competitors had all secured the same information and likely

did so in the same manner. Id. Ultimately, the court found that such information was not a trade

secret. Id.

         The information here is even less secretive than the lists in Kirgan. The preparation and

loading of the resumes entailed no effort by Plaintiffs. Jobseekers themselves uploaded their

resume. 43 While the information was gathered over a long period of time, this did not involve the

input or effort of Plaintiffs. 44 Rigzone’s president, Norville, admitted that no person at Rigzone

codes information in any sort of database as resumes are uploaded. 45 Efforts recognized in cases

when the court found a compilation are significantly greater than simply building a website and

passively allowing members to upload their information. See Calisi v. Unified Fin. Srvs, LLC, 232

Ariz. 103, 108, 302 P.3d 628, 633 (Ct. App. 2013) (“The record is completely silent regarding the

cost, time, frequency, and success rate of UFS's direct mail advertising or its use of any other

marketing method, such as “cold calling,” tax seminars, or financial planning programs. Simply

put, UFS failed to present any evidence that it had expended substantial effort to develop its




43
     DE 233, Ex. J [Deposition of Chad Norville] at 46:22-47:01.
44
     DE 233, Ex. J [Deposition of Chad Norville] at 76:12-79:02.
45
     DE 233, Ex. J [Deposition of Chad Norville] at 223:15-18.



                                                        15
     Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 16 of 23




customers and any personal information about them in a way that its competitors could not

duplicate.”).

         Further, Plaintiffs have done nothing to establish that this information differs from that of

Plaintiffs’ competitors. Quite the opposite. Plaintiffs’ own expert has acknowledged that the

resumes are not unique. Johnson refers in his report to Plaintiffs’ purchase of OilCareers, a

company based in the United Kingdom. 46 Johnson notes, that this UK company, although

consisting of primarily resumes for UK based oil and gas professionals, had an 18% overlap with

the members of Rigzone, even though Rigzone was a U.S.-based company. 47 Johnson further notes

that OilCareers had 1.5 million members. 48 Given that there was an 18% overlap, 270,000 of the
OilCareers members were also members of Rigzone. 49

         Rigzone’s own President, Norville, admitted that Plaintiffs do not even guarantee the

accuracy of the resumes. 50 Norville testified that Rigzone has “no control over the quality, safety,

legality, truth, or accuracy of the job listings or the resumes/CVs.” 51 The terms and conditions

likewise, confirm the same. 52

         Another court has noted that noted “[a] compilation trade secret is, generally, not an

amorphous collection of information. Instead, the compilation must work together to embody a

definite methodology, process, technique, or strategy.” Uhlig LLC v. Shirley, 6:08-CV-01208-

JMC, 2012 WL 2923242, at *5 (D.S.C. July 17, 2012). Here, Defendants accessed only individual

resumes. 53 Defendants did not access the database that had search features and tables with more


46
     DE 233, Ex. G-1 [Expert Report of Shane Johnson] at 7.
47
     DE 233, Ex. G-1 [Expert Report of Shane Johnson] at 7.
48
     DE 233, Ex. G-1 [Expert Report of Shane Johnson] at 7.
49
     DE 233, Ex. G-1 [Expert Report of Shane Johnson] at 7.
50
     DE 233, Ex. J [Deposition of Chad Norville] at 78:22-79:09.
51
     DE 233, Ex. J [Deposition of Chad Norville] at 78:22-79:09.
52
     DE 233, Ex. J-46 [Rigzone’s Terms and Conditions].
53
     DE 233, Ex. N-3 [Expert Report of Trent Livingston] at 5, ¶13.




                                                        16
     Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 17 of 23




cohesive information, but only accessed the publicly-reachable web page. 54 There is no

methodology, process, technique, or strategy at issue here.

                  c.      Rigzone took no measures to maintain the secrecy of the resume database.
         Under TUTSA the definition of a “trade secret” requires that “the owner of the trade secret

has taken reasonable measures under the circumstances to keep the information secret.” TEX. CIV.

PRAC. & REM. CODE ANN. § 134A.002. “Reasonableness will vary based on the size of the business

and the importance of the trade secret.” John F. Cleavland, Jr., 2017 TEXAS TRADE SECRETS

UPDATE, Institute for Law and Technology: Conference on Intellectual Property Law, November

13-14, 2017. The more important the trade secret is, the more closely that secret should be guarded.

Id. Additionally, “the determination of what steps are reasonably necessary to protect information

is different for a large company than for a small one.” Jackson v. Hammer, 274 Ill. App. 3d 59,

67, 653 N.E.2d 809, 815 (1995).

         Here, the Plaintiffs will be held to a high standard, commensurate with their sophistication

and the alleged importance of the trade secret. 55 Rigzone has offices in numerous countries.

Rigzone has offices world-wide 56 and DHI is a publicly traded company with more than 500

employees and revenues that exceed $100 million per year. 57 When asked about the importance of

the resume database, Rigzone’s president testified: “On a scale of one to ten, I'd give it a ten.”58

But despite this alleged importance and the resources of a large corporation, Plaintiffs took

virtually no steps to protect the resume database and in fact affirmatively disclosed it far and wide.

It is incredible that Plaintiffs continue to pursue this trade secret claim, when their pre-litigation

conduct so definitively waived any right to trade secret protection.



54
     DE 233, Ex. J [Deposition of Chad Norville] at 248:11-13; DE 233, Ex. H [Declaration of David Kent] at App.
     000510.
55
     DE 233, Ex. J [Deposition of Chad Norville] at 26:8-27:21.
56
     DE 233, Ex. J [Deposition of Chad Norville] at 26:8-27:21.
57
     DE 233, Ex. J [Deposition of Chad Norville] at 28:6-10; 30:02-30:17.
58
     DE 233, Ex. J [Deposition of Chad Norville] at 53:08-17.



                                                        17
     Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 18 of 23




         Turning first to the protections that Plaintiffs took with respect to employee access to the

database, Williams, a case cited by Plaintiffs, is instructive:

         Plaintiff has provided evidence that it took several steps to maintain the
         confidentiality of its customer lists. Each of Plaintiff’s salespeople only had access
         to his own customer list, including the material costs, labor costs, specific pricing,
         pricing discounts, accounts receivable, amount of purchases, specifications and
         constructions, and other information that the salesperson generated for his
         customers alone. The information on the computer system was protected; a
         salesperson should not have been able to run reports on the customers of other
         salespersons or even see the customer lists of other salespersons. The only
         employees with authorization to enter the system and run reports for all
         customers were the general manager and “potentially” the sales manager.
         Plaintiff also maintained oversight by tracking the reports salespersons viewed
         or printed out.

Id. at *12 (emphasis added). Every factor that Williams identifies is absent from the Plaintiffs’

conduct here. The evidence is undisputed that all Rigzone employees had access to all resumes in

the database, 59 were not required to sign non-disclosure agreements, 60 and Rigzone did not track

employees access to those resumes. Plaintiffs allowed an employee to take a server with the entire

resume database on it, without requiring the employee to delete the resumes! And this laxity

extended to third parties: Rigzone’s subscribers (who were not required to sign a non-disclosure

agreement or acknowledge that the resumes were Rigzone’s trade secrets) 61 also had access to all

resumes in the database and at least for some periods of time, could download an excel file with
all—or at least thousands—of the resumes. 62

         Baxter & Associates, L.L.C. v. D & D Elevators, Inc., 05-16-00330-CV, 2017 WL 604043,

(Tex. App.—Dallas Feb. 15, 2017, no pet.), is also on point. In that case, the Dallas Court of




59
     DE 233, Ex. J [Deposition of Chad Norville] at 53:08-17.
60
     DE 233, Ex. D [Deposition of Estevan Dufrin] at 126:22-129:25; DE 233, Ex. J [Deposition of Chad Norville] at
     166:21-24.
61
     Ex. 233, Ex. N-6 [Rigzone’s January 13, 2016 Contract with Petronas].
62
     DE 233, Ex. C [Deposition of Bryan Robins] at 59:06-09; DE 233, Ex. A [Deposition of Jeremy Antonini] at
     141:03-15; DE 233, Ex. J [Deposition of Chad Norville] at 212:06-15; 216:24-217:24.



                                                        18
     Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 19 of 23




Appeals found that the plaintiff-employer had not taken reasonable steps to protect its alleged

trade secrets, based on the following facts:

         1)       Employees worked for years without being asked to sign a “noncompetition
                  agreement”;

         2)       Employees who refused to sign the “noncompetition agreement” remained
                  employed even after they refused to sign;

         3)       The alleged trade secret data was not encrypted or protected by a monitoring system
                  or tracking software; and

         4)       The documents in question were not labeled as confidential or proprietary.

Id. at *10. Rigzone and DHI treated their alleged trade secret with less regard than the employer

in Baxter. Plaintiffs did not require employees to sign non-disclosure agreements; 63 did not encrypt

the resume database; 64 took no effort to mark the resume database or even inform employees that

Rigzone considered it a trade secret; 65 and literally gave the entire resume database away without

a non-disclosure agreement or any instructions regarding the protection of that information.66

Combined with the fact that the database had never been referred to as a trade secret and employees

had never been instructed to treat it as such, the resume database simply cannot be considered a

trade secret, in the face of these facts.

         But the most perhaps the most damning facts relate to Plaintiffs’ third-party disclosures of

the database. Information that may be discovered by anyone does not constitute a trade secret.

Numed, Inc. v. McNutt, 724 S.W.2d 432, 435 (Tex. App.—Fort Worth 1987, no writ). Texas courts

“refuse to extend trade secret protection when the material sought to be protected has been publicly

disclosed.” Lamont v. Vaquillas Energy Lopeno Ltd., LLP, 421 S.W.3d 198, 210 (Tex. App.—San


63
     DE 233, Ex. D [Deposition of Estevan Dufrin] at 126:22-129:25; DE 233, Ex. J [Deposition of Chad Norville] at
     166:21-24.
64
     DE 233, Ex. H [Declaration of David W. Kent, Jr.] ¶¶6-7; DE 233, Ex. J [Deposition of Chad Norville] at 198:17-
     20.
65
     DE 233, Ex. J [Deposition of Chad Norville] at 138:04-23, 156:01-13.
66
     DE 233, Ex. A [Deposition of Jeremy Antonini] at 144:10-148:06; 148:20-149:25.



                                                        19
     Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 20 of 23




Antonio 2013, pet. denied) (internal quotations omitted); see also Vianet Group PLC v. Tap

Acquisition, Inc., No. 3:14-CV-3601-B, 2016 WL 4368302, at *20 (N.D. Tex. Aug. 16, 2016);

McClain v. State, 269 S.W.3d 191, 197 (Tex. App.—Texarkana 2008, no pet.); Smartcomm

License Services LLC v. Palmieri, No. CA-CV 16-0265, 2018 WL 326510, at *6 (Ariz. Ct. App.

Jan. 9, 2018) (interpreting the Arizona Uniform Trade Secret Act).

         Here, Rigzone handed over the entire database to another company without compensation

or a non-disclosure agreement, 67 granted unlimited access to customers and vendors, including the

ability to download large quantities of resumes at one time, 68 without securing a non-disclosure

agreement, 69 monitoring or tracking third parties with access to the resume database, 70 or in any
way ensuring that the customer understood that Rigzone considered the resume database a trade

secret. The fact of the matter is Plaintiffs only began claiming the resume database was a trade

secret during the pendency of this lawsuit. 71

         The paucity of security measures (if any) taken by a multi-national, public company to

protect Rigzone’s supposed most important trade secret demonstrates that the resume database

cannot be a trade secret as a matter of law. At the very least, Defendants have shown that a question

of fact exist, precluding Plaintiffs’ request for summary judgment.

B.       The vice-principal theory does not apply.
         As discussed above, it is TUTSA—not the SPA—that governs whether the Rigzone resume

database is a trade secret and, in any event, the SPA’s trade secret definition does not include the

resume database. But even if this were not the case, Oilpro did not sign the SPA and did not even

exist when the SPA was executed on August 11, 2010. The vice-principal theory is not a time



67
     Ex. R-4 [April 13, 2015, Email from Megan Henderson].
68
     DE 233, Ex. C [Deposition of Bryan Robins] at 59:06-09; DE 233, Ex. A [Deposition of Jeremy Antonini] at
     141:03-15; DE 233, Ex. J [Deposition of Chad Norville] at 212:06-15; 216:24-217:24.
69
     DE 233, Ex. N-6 [Rigzone’s January 13, 2016 Contract with Petronas].
70
     DE 233, Ex. J [Deposition of Chad Norville] at at 167:24-168:03.
71
     DE 233, Ex. J [Deposition of Chad Norville] at 52:23-25.



                                                        20
    Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 21 of 23




machine that permits Plaintiffs to retroactively bind Oilpro to the terms of the SPA. In fact, the

vice-principal theory has no application to this case at all: it is a doctrine that attributes direct

liability to a corporation for gross negligence, such that the corporation may be held liable for

punitive damages. Mobil Oil Corp. v. Ellender, 968 S.W.2d 917, 921 (Tex. 1998); EMC Mortg.

Corp. v. Jones, 252 S.W.3d 857, 875 (Tex. App.—Dallas 2008, no pet.); ADT LLC v. Capital

Connect, Inc., 3:15-CV-2252-G, 2017 WL 1426302, at *9 (N.D. Tex. Apr. 21, 2017) (same). This

doctrine does not allow a plaintiff to impute pre-formation conduct for purposes of liability. Even

if the SPA were sufficient to establish liability as to Defendant Kent, it would not be sufficient to

establish Oilpro’s liability.

                                         CONCLUSION
        Defendants request that the Court deny Plaintiffs’ Affirmative Motion for Partial Summary

Judgment and grant them any such further relief to which they have shown themselves justly

entitled.




                                                 21
Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 22 of 23



                                    Respectfully submitted,

                                    FOLEY GARDERE
                                    FOLEY & LARDNER LLP

                                    /s/ James G. Munisteri
                                    James G. Munisteri
                                    Texas Bar No. 14667380
                                    Marla T. Poirot
                                    Texas Bar No. 00794736
                                    1000 Louisiana, Suite 2000
                                    Houston, Texas 77002-2099
                                    Telephone: (713) 276-5500
                                    Facsimile: (713) 276-5555
                                    jmunisteri@foley.com
                                    mpoirot@foley.com

                                    Sara Ann Brown
                                    Texas Bar No. 24075773
                                    2021 McKinney, Suite 1600
                                    Dallas, Texas 75201-3340
                                    Telephone: (214) 999-3000
                                    Facsimile: (214) 999-4667
                                    sabrown@foley.com

                                    ATTORNEYS FOR DEFENDANT/
                                    COUNTER-PLAINTIFF, SINGLE
                                    INTEGRATED OPERATIONS PORTAL,
                                    INC. D/B/A OILPRO AND
                                    OILPRO.COM AND DAVID W. KENT,
                                    JR.




                                  22
   Case 4:16-cv-01670 Document 242 Filed in TXSD on 11/16/18 Page 23 of 23



                              CERTIFICATE OF SERVICE
       I certify that on November 16, 2018, a copy of the forgoing was served via email to the

following:

 Walter Lynch                                Counsel for Plaintiffs DHI Group, Inc. f/k/a
 Amir Halevy                                 Dice Holdings, Inc. and Rigzone.com, Inc.
 Jeb Golinkin
 JORDAN, LYNCH & CANCIENNE PLLC
 1980 Post Oak Blvd., Suite 2300
 Houston, Texas 77056
 wlynch@jlcfirm.com
 ahavely@jlcfirm.com
 jgolinkin@jlcfirm.com

                                                    /s/ James G. Munisteri
                                                      James G. Munisteri




                                             23
